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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                                MONROE DIVISION


SUSAN SIMPSON ET AL                                  CIVIL ACTION NO. 15-cv-2107

VERSUS                                               JUDGE DOUGHTY

DOLLAR TREE STORES INC                               MAGISTRATE JUDGE KAREN L.
                                                     HAYES


                                  ORDER OF DISMISSAL

          The Court having been advised by counsel for the parties that the above action has

 been settled,

          IT IS ORDERED that this action is hereby DISMISSED, without prejudice to the

 right, upon good cause shown within sixty (60) days of the signing of this Order, to reopen

 the action if settlement is not consummated. The Clerk is now requested to close this case.

          IT IS FURTHER ORDERED that within sixty (60) days of the signing of this

 Order, the parties shall submit to the Court: (1) a joint motion to dismiss accompanied by

 a proposed order; or (2) a Rule 41(a)(1)(A)(ii) stipulation of dismissal signed by all parties

 who have appeared in this action. Any motion that may be pending in this case is hereby

 DENIED AS MOOT.

           THUS DONE AND SIGNED at Monroe, Louisiana, this 27th day of April,
  2018.


                                                             Terry A. Doughty
                                                        United States District Judge
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